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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

 

X
UNITED STATES OF AMERICA
NOTICE OF MOTION
— against —
JULIAN ELIE KHATER, Docket No. 21-CR-00222 (TFH)
Defendant.
X

 

PLEASE TAKE NOTICE, that upon the annexed declaration of Chad Seigel, Esq., attorney
for defendant Julian Khater (“Khater”), dated February 24, 2022, the accompanying
exhibits and memorandum of law, and upon all papers and proceedings heretofore had
herein, the undersigned will move this Court before the Hon. Thomas F. Hogan, United
States District Judge, at the United States District Court, 333 Constitution Ave. NW,
Washington, D.C. 20001, at a date and time to be fixed by the Court, for an Order:

(1) Suppressing statements obtained from Khater in violation of
his Constitutional rights;

(2) Dismissing Count Six, charging Obstructing or Impeding an
Official Proceeding in violation of 18 U.S.C. § 1512(c)(2), for
failure to state an offense pursuant to Fed.R.CrimP.
12(b)(3)(B)(v);

(3) Transferring venue of this case to protect Khater’s
Constitutional right to trial by an impartial jury;

(4) Compelling the Government to immediately disclose Brady
material in its possession;

(5) Directing the Government to provide reasonable Rule 404(b)
notice;

(6) Permitting the defendant to join in the motions of his
co-defendant; and,

 
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(7) Allowing the defendant to make additional motions that may
become necessary as a result of further discovery.

together with such other and further relief as this Court may deem just and proper.

Dated:

TO:

New York, New York

February 24, 2022

Clerk of the Court

United States District Court
for the District of Columbia
United States District Court
333 Constitution Ave. NW
Washington, D.C. 20001

Hon. Thomas F. Hogan
United States District Court
for the District of Columbia
United States District Court
333 Constitution Ave. NW
Washington, D.C. 20001

AUSA Anthony F. Scarpelli
AUSA Gilead |. Light

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